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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA
                                  MIAMI DIVISION


 3Lions Publishing, Inc.
       Plaintiff,
                                                             Case No.:
 v.

 University of Miami                                         JURY DEMANDED
       Defendant.
 ________________________/

                                    ORIGINAL COMPLAINT

        Comes now the Plaintiff, 3Lions Publishing, Inc. (“Plaintiff” or “3LP”) for its

 complaint (“Complaint”) against the University of Miami (“Defendant” or “UOM”) and

 alleges as follows:

                                        INTRODUCTION


        1.      This is an action for Copyright Infringement under the United States Copyright

 Act of 1976, as amended, 17 U.S.C §§ 101 et seq. (the “Copyright Act”) and for Unfair

 Competition under 15 U.S.C. § 1125 (the “Lanham Act”).


                           PARTIES, JURISDICTION AND VENUE

        2.      Plaintiff 3Lions Publishing, Inc. is a corporation registered in the State of Florida

 that provides information, solutions and guidance to the healthcare industry regarding the

 implementation of safeguards to comply with the Health Insurance Portability and

 Accountability Act (“HIPAA”), having its principal place of business located in Pinellas County

 at 1001 Starkey Rd. #18, Largo, FL 33771.
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         3.      Upon information and belief Defendant University of Miami is a private,

 non-sectarian university and a domestic non for profit corporation registered in the State

 of Florida doing business in this District, and globally, via its Internet websites, located at

 www.miami.edu with its headquarters in Dade County at 1320 South Dixie Highway,

 Coral Gables, Florida 33146.

         4.      Upon information and belief, at all times material hereto, Defendant UOM

 operated through the acts of its employees, agents, representatives, servants, and the like, acting

 within their course of employment and scope of duties.

         5.      This court has subject matter jurisdiction over the Complaint for the Copyright

 Count pursuant to 28 U.S.C. 1331 (federal question) and pursuant to the Copyright Act under 28

 U.S.C. 1338(a) (copyrights) and for the Unfair Competition Count pursuant to 28 U.S.C. §

 1338(b).

         6.      This Court has personal jurisdiction over Defendant because Defendant’s tortious

 acts of copyright infringement and unfair competition all occurred either directly or indirectly

 within this jurisdiction (and elsewhere in the State of Florida as well as throughout the United

 States) and Defendant has transacted business and is domiciled within this jurisdiction.

         7.      Venue is proper in this judicial district pursuant to 28 U.S.C 1391(b) and (c)

 because Defendant UOM resides in this judicial district, and because Defendant is subject to

 personal jurisdiction in this judicial district, and has conducted business in this judicial district,

 and a substantial part of the events or omissions giving rise to the claims occurred in this judicial

 district.
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                               ALLEGATIONS COMMON TO ALL COUNTS

            8.       3LP owns a website entitled the HIPAA Survival Guide (“HSG”), located on the

 Internet at www.hipaasurvivalguide.com (hereinafter referred to as “Website”).

            9.       The Website is an original work which is copyrightable under Title 17 of the

 United States Code, to wit, the Copyright Act of 1976 as amended.

            10.      The Website contains “protectable elements” afforded copyright protection, said

 elements include, but are not limited to, the unique written content, images, graphics, and the

 unique expressions set forth in the Website.

            11.      3LP duly applied to the Library of Congress Copyright Office, and received a

 Certificate of Registration for the Website. See Exhibit A, HSG U.S. Copyright registration

 attached hereto and incorporated herein by reference1.

            12.      3LP is the sole owner of the copyright of the Website.

            13.      Subsequent to the issuance of the HSG copyright certificate, Defendant UOM

 infringed upon 3LP’s copyright by adapting 3LP’s Website content (“the Work”) and releasing

 said adaptation for use on the Internet on Defendant’s website located on the Internet at

 www.privacyoffice.med.miami.edu/about/hitech-act (“Infringing Content”). See Exhibit B,

 Defendant’s Infringing Content.

            14.      3LP became aware of Defendant’s Infringing Content, on or about

 August 21, 2013.

            15.      3LP never entered into any agreement with the Defendant that would permit

 Defendant to adapt or otherwise use the Work; therefore Defendant possesses no rights

 whatsoever in regard to any of the exclusive rights granted 3LP under the Copyright Act.



 1
     All exhibits are attached hereto and included herein by reference.
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                               DEFENDANT’S INFRINGING CONDUCT

        16.      As a direct result of Defendant’s unauthorized use of the Infringing Content,

 Defendant unlawfully reproduced, distributed, displayed, and created a derivative of the Work,

 causing economic harm and actual damages to 3LP. See generally 17 U.S.C. § 106.

        17.      Defendant’s conduct, as described herein, constitutes direct copyright

 infringement of 3LP’s rights attached to the Work under the Copyright Act. See generally 17

 U.S.C. § 106.

        18.      Upon information and belief, Defendant also used the Infringing Content to

 unfairly compete with 3LP, diverting Internet traffic from 3LP’s Website to Defendant’s website.

                                COUNT I – Copyright Infringement
                       [Damages for Copyright Infringement 17 U.S.C. § 501(a)]

        19.      3LP incorporates by reference all the allegations in paragraphs 1 through 18 of the

 Complaint as if fully set forth herein.

        20.      3LP is the rightful owner of all rights related to the Work and, pursuant to 17

 U.S.C. § 102(a), owns a copyright in the Work, for which an application for registration was

 made and a certification issued.

        21.      Defendant, by using the 3LP’s Work for its own economic gain, without 3LP’s

 authorization, unlawfully reproduced, distributed, displayed and created a derivative of 3LP’s

 Work, in violation of the enumerated rights contained in the Copyright Act. See generally 17

 U.S.C. §§ 106 and 501.

        22.      Upon information and belief, Defendant’s acts of copyright infringement were

 willful and deliberate, in reckless disregard of 3LP’s copyright, and intended for its own
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 economic gain, without consideration for the irreparable harm that said acts would cause 3LP.

 See 17 U.S.C. § 504(c)(2).

                                  COUNT II - Unfair Competition
                   [Damages for Unfair Competition Under 15 U.S.C. § 1125, § 1117]


        23.     3LP incorporates by reference all the allegations in paragraphs 1 through 18 of the

 Complaint as if fully set forth herein.

        24.     Through many hours of diligent work, 3LP created an original Work that has been

 widely published and distributed on the Internet, as evidenced by the large number of visitors

 that view 3LP’s Work on a daily basis.

        25.     Defendant’s unauthorized use of the Work constitutes unfair and unlawful

 competition under 15 U.S.C. § 1125, and misrepresents an affiliation between 3LP and

 Defendant.

        26.     Defendant’s unauthorized use of the Work has caused irreparable harm to 3LP,

 and any continued display or further distribution of the Work will continue to add to the

 irreparable harm already caused.

                                           PRAYER FOR RELIEF

        WHEREFORE, Plaintiff respectfully requests that the Court:

                                    COUNT I – Copyright Infringement

        (A) Permanently enjoin Defendant and all other persons who are in active concert or

 participation with Defendant from continuing to infringe Plaintiff’s copyrighted Work;

        (B) Order Defendant to delete and permanently remove copies of Plaintiff’s copyrighted

 Work from each of the computers under Defendant’s possession, custody or control;
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        (C) Award Plaintiff statutory or actual damages in an amount to be determined during

 discovery and/or at trial, pursuant to 17 U.S.C. § 504(a) and (b);

        (D) Award Plaintiff reasonable attorneys’ fees and costs pursuant 17 U.S.C. § 505; and

        (E) Grant Plaintiff any other further relief this Court deems just and proper.

                                     COUNT II - Unfair Competition

        (A) Award actual damages and profits for Defendant’s acts of Unfair Competition

 pursuant to 15 U.S.C. § 1117;

        (B) Award Plaintiff reasonable attorneys’ fees and costs pursuant to 15 U.S.C. § 1117;

 and

        (C) Grant Plaintiff any other further relief this Court deems just and proper.


                                   Designation of Place of Trial

 3LP hereby designates Miami, FL as the place of trial of the above-styled matter.



                                            Respectfully submitted,




                                            By: /s/ Carlos A. Leyva
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